                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                March 19, 2015
                              No. 10-15-00065-CR
                           IN RE FREDDIE LEE WALLACE
                                       
                                       
                              Original Proceeding
                                       
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JUDGMENT

	The Petition for Writ of Mandamus filed by Freddie Lee Wallace has been considered by the Court.  The Court has determined the Petition for Writ of Mandamus should be and hereby is denied.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court.	
							PER CURIAM
						SHARRI ROESSLER, CLERK

						By:          Nita Whitener		
							Deputy Clerk

